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               IN THE UNITED STATES DISTRICT COURT

                   FOR THE STATE OF NEW MEXICO




RICHARD and VIOLET FLORES,

            Plaintiffs,

vs.

UNITED STATES OF AMERICA,

            Defendant.




            COMPLAINT FOR DAMAGES FOR PERSONAL INJURY

           AND FOR CONCEALMENT OF REQUESTED INFORMATION


      COME NOW Plaintiffs, by and through counsel, and for

their Complaint state:


      1.   Plaintiffs are residents of Bernalillo County,

State of New Mexico.

      2.   Defendant, United States of America, in the form

of the Department of Veterans’ Affairs Medical Services

(hereinafter, “VA”), is in effect a branch of the United

States Government, headquartered in Washington, D.C.



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JURISDICTION:

    3.   The claims filed herein relate directly to an

operation performed at the VA medical center (VAMC) located

in Albuquerque, State of New Mexico.      The claim for medical

injuries is brought pursuant to 28 U.S.C. Sections 1346(b)

and 2671, et seq., as to which federal jurisdiction is

exclusive.   Jurisdiction is also pled pursuant to the

Freedom of Information Act (FOIA), 5 U.S.C. Section

552(a)(4)(B).



EXHAUSTION OF REMEDIES:

    4.   This Claim has been properly presented to the

appropriate federal agency (VA), and a six month right to

sue letter has issued January 30, 2014.       The Plaintiffs

have sought the administrative review provided by statute

and their remedies have been exhausted; any further

attempts at exhaustion would be futile.

    5.   The United States of America is an appropriate

Defendant as the acts complained of were negligent and/or

erroneous actions of the VAMC in Albuquerque, New Mexico.




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GENERAL AVERMENTS:

    6.    At all times material hereto, Plaintiffs, husband

and wife, were residents of Albuquerque, New Mexico.

Richard Flores is a U.S. military veteran with a disability

rating and eligibility for VA medical services.        He has

been married to Violet Flores for over 40 years.

    7.    In 2009 Mr. Flores sought treatment for heart

disease by personnel of the VAMC in Albuquerque, New

Mexico.

    8.    In October of 2009, surgery was performed at the

VAMC for Mr. Flores, which did repair his heart.        During

the course of the operation his blood supply was allowed to

be inadequate, causing a loss of oxygen to the brain for

some 20 minutes, resulting in vascular dementia.

    9.     After the operation, Plaintiffs were assured by

the medical staff of the VAMC that some cognitive issues

would subside in a month or two.




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    10.   The cognitive issues with Mr. Flores did not

decrease, but increased until Plaintiffs had an MRI

performed in May of 2010 which revealed the vascular

dementia, acknowledged by the VA as of October 2010.

    11.   Following the October 2009 operation, Mr. Flores

has had continued loss of cognitive ability, resulting in

pain and suffering, loss of enjoyment of life, costly

financial mistakes, loss of his abilities to do normal

mental and physical tasks, and general loss of health.

    12.   Mrs. Flores has experienced anxiety, care and

concern, and the loss of consortium as a direct result of

this vascular dementia.

    13.   The Plaintiffs have requested treatment records

over the past three years from the VA, and requested that

certain records be provided, specifically detailed nurses

and anesthesiologist records and the “sentinel event”

report generated by the VA following the surgery.




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    14.   The VA has failed to provide accurate information

about the state of Mr. Flores’ condition following the

October 2009 surgery, and failed to provide complete and

accurate information from medical records available to the

VA, despite numerous and specific requests, and has failed

to provide appropriate and accurate responses to several

FOIA requests since 2010.

    15.   Mr. Flores was treated in October 2009 at the

VAMC by Dr. Stuart B. Pett, and other medical personnel

employed by and agents of Defendant, acting within the

course and scope of that employment and agency.

    16.   Defendant failed to exercise ordinary care and

negligently or erroneously failed to supply sufficient

blood during the course of the October 2009 surgery,

directly resulting in ongoing and degenerating dementia.

    17.   Following timely requests for information by

Plaintiffs, Dr. Pett and other personnel of the VAMC

covered up and misled Plaintiffs concerning the scope and

cause of Mr. Flores’ injuries.




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    18.    The VA has engaged in fraudulent concealment of

the cause and scope of Mr. Flores’ injuries, both after the

incident and subsequent to several FOIA requests for

reports.

    19.    In treating and caring for Mr. Flores, Defendant,

through its doctors and medical personnel, failed to

possess and apply the knowledge and to use the skill and

care ordinarily used by reasonably well qualified doctors

and other health care providers of the same field of

medicine or practice as that of Defendant practicing under

similar circumstances.

    20.    Defendant is liable for the acts and omissions of

its employees and agents who were acting within the scope

or course of their employment/agency.

    21.    The VA’s letters responding to Plaintiffs’

requests which highlighted the diagnosis of vascular

dementia following the October 2009 surgery by a year,

grant a Right to Sue and acknowledge exhaustion of

Plaintiffs’ administrative remedies.




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    22.   The various letters from Defendant regarding the

several FOIA requests do not pose any statutory objection

and do not claim any exemption under the statute.

    23.   As a proximate result of the negligent, careless,

erroneous and unlawful privation of care and disclosure due

from Defendant to Plaintiffs, the Plaintiffs have suffered

severe injury, causing Plaintiffs great physical, mental

and financial pain and suffering.

    24.   As a further proximate result of the negligent,

careless, erroneous and fraudulent acts of Defendant,

Plaintiffs have incurred medical, legal and incidental

expenses and will incur further medical, legal and

incidental expenses for the repair of their credit and

their standing in this community.

    25.   As a result of the injuries to Mr. Flores,

damages have occurred including but not limited to:

economic lost earning capacity and a loss of household

services; pain and suffering for both Plaintiffs; the value

of loss of parental guidance and loss of consortium; and

aggravation attending the concealment of the wrongful acts.



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                   PRAYER FOR RELIEF/DAMAGES


    WHEREFORE, Plaintiffs seek relief as follows:

    Plaintiffs pray for Judgment against Defendant

declaring its actions to be negligent, careless, erroneous

and fraudulent.

    Plaintiffs pray for payment by Defendant in the amount

of $2,000,000.00, together with interest, costs and such

other relief as the Court deems just.

    Further, Plaintiffs pray for relief in the form of

compensation for fraudulent concealment in the amount of

$1,000,000.00, and for attorneys’ fees and for such other

and further relief as the Court deems reasonable.



                                  ELECTRONICALLY FILED:

                                  /s/ William A. L’Esperance

                                  __________________________
                                  /s/ William A. L’Esperance
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                           VERIFICATION



STATE OF NEW MEXICO       )
                          )     ss:
COUNTY OF BERNALILLO      )


    My name is Violet Flores, and I am a Plaintiff

in the above captioned Complaint.

    I have read the above Complaint and hereby declare

that all the allegations thereof are true to the best of my

knowledge and belief, and I acknowledge, affirm and verify

all those matters of which I have personal knowledge.

    Further affiant sayeth not.


                                  /s/ Violet L. Flores
                                  ________________________
                                  VIOLET FLORES
                                  Plaintiff

    SUBSCRIBED, ACKNOWLEDGED, VERIFIED AND SWORN TO before

me by Violet Flores, a person known to me, this

25th day of July, 2014.


                                  Carol A. Baker
                                  ________________________
                                  NOTARY PUBLIC

My commission expires:
9/16/17                           SEAL.
______________________



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